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IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF COLUMBIA

Holding a Criminal] Term

Grand Jury Sworn in on November 18, 2022

UNITED STATES OF AMERICA : CRIMINAL NO.
V. : MAGISTRATE NO. 22-MJ-096
EDWARD KELLEY, : VIOLATIONS:
: 18 U.S.C. §§ 1512(c)(2), 2
Defendant. : (Obstruction of an Official Proceeding)

18 U.S.C. § 111(a)()

(Assaulting, Resisting, or Impeding
Certain Officers)

18 U.S.C. § 1361

(Destruction of Government Property)

18 U.S.C. § 1361

(Destruction of Government Property)

18 U.S.C. § 1752(a)(1)

(Entering and Remaining in a Restricted
Building or Grounds)

18 U.S.C. § 1752(a)(2)

(Disorderly and Disruptive Conduct in a
Restricted Building or Grounds)

18 U.S.C. § 1752(a)(4)

(Engaging in Physical Violence in a
Restricted Building or Grounds)

40 U.S.C. § 5104(e)(2)(B)

(Entering and Remaining in the Gallery of
Congress)

40 U.S.C. § 5104(e)(2)(D)

(Disorderly Conduct in a Capitol Building)
40 U.S.C. § 5104(e)(2))

(Act of Physical Violence in the Capitol
Grounds or Buildings)

40 U.S.C. § 5104(e)(2)(G)

(Parading, Demonstrating, or Picketing in
a Capitol Building)
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INDICTMENT

The Grand Jury charges that:

COUNT ONE
On or about January 6, 2021, within the District of Columbia and elsewhere, EDWARD
KELLEY attempted to, and did, corruptly obstruct, influence, and impede an official proceeding,
that is, a proceeding before Congress, specifically, Congress’s certification of the Electoral College

vote as set out in the Twelfth Amendment of the Constitution of the United States and 3 U.S.C. §§

15-18.

(Obstruction of an Official Proceeding and Aiding and Abetting, in violation of Title
18, United States Code, Sections 1512(c)(2) and.2)

COUNT TWO

On or about January 6, 2021, within the District of Columbia, EDWARD KELLEY did
forcibly assault, resist, oppose, impede, intimidate, and interfere with, an officer and employee of
the United States, and of any branch of the United States Government (including any member of
the uniformed services), that is, A.C., an officer from the United States Capitol Police Department,

while such person was engaged in and on account of the performance of official duties, and where

the acts in violation of this section involve physical contact:with the victim and the intent to commit

another felony.

(Assaulting, Resisting, or Impeding Certain Officers, in violation of Title 18, United
States Code, Section 111(a)(1))
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COUNT THREE

On or about January 6, 2021, within the District of Columbia, EDWARD KELLEY did
willfully injure and commit depredation, and attempted to do so, against property of the United
States, and of any department and agency thereof, and any property which has been and is being
manufactured and constructed for the United States, and any department or agency thereof, that is,
the West Front Senate Wing Door, causing damage in an amount exceeding $1,000.

(Destruction of Government Property, in violation of Title 18, United States Code,
Section 1361)

COUNT FOUR

On or about January 6, 2021, within the District of Columbia, EDWARD KELLEY did
willfully injure and commit depredation, and attempted to do so, against property of the United
States, and of any department and agency thereof, and any property which has been and is being
manufactured and constructed for the United States, and any department or agency thereof, that is,
a window at the United States Capitol adjacent to the West Front Senate Wing Door, causing

damage in an amount less than $1,000.

(Destruction of Government Property, in violation of Title 18, United States Code,
Section 1361)

COUNT FIVE

On or about January 6, 2021, within the District of Columbia, EDWARD KELLEY did
knowingly enter and remain in a restricted building and grounds, that is, any posted, cordoned-off,

and otherwise restricted area within the United States Capitol and its grounds, where the Vice

President was and would be temporarily visiting, without lawful authority to do so.

(Entering and Remaining in a Restricted Building or Grounds, in violation of Title 18,
United States Code, Section 1752(a)(1))
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COUNT SIX

On or about January 6, 2021, within the District of Columbia, EDWARD KELLEY did

knowingly, and with intent to impede and disrupt the orderly conduct of Government business and

official functions, engage in disorderly and disruptive conduct in and within such proximity to, a

restricted building and grounds, that is, any posted, cordoned-off, and otherwise restricted area

within the United States Capitol and its grounds, where the Vice President was and would be

temporarily visiting, when and so that such conduct did in fact impede and disrupt the orderly
conduct of Government business and official functions.

(Disorderly and Disruptive Conduct in a Restricted Building or Grounds, in violation
of Title 18, United States Code, Section 1752(a)(2))

COUNT SEVEN
On or about January 6, 2021, within the District of Columbia, EDWARD KELLEY did

knowingly engage in any act of physical violence against any person and property in a restricted

building and grounds, that is, any posted, cordoned-off, and otherwise restricted area within the
United States Capitol and its grounds, where the Vice President was and would be temporarily

visiting.

(Engaging in Physical Violence in a Restricted Building or Grounds, in violation of
Title 18, United States Code, Section 1752(a)(4))

COUNT EIGHT
On or about January 6, 2021, within the District of Columbia, EDWARD KELLEY
willfully and knowingly entered and remained in the gallery of either House of Congress, without
authorization to do so.

(Entering and Remaining in the Gallery of Congress, in violation of Title 40, United
States Code, Section 5104(e)(2)(B))
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COUNT NINE
On or about January 6, 2021, within the District of Columbia, EDWARD KELLEY
willfully and knowingly engaged in disorderly and disruptive conduct within the United States
Capitol Grounds and in any of the Capitol Buildings with the intent to impede, disrupt, and disturb
the orderly conduct of a session of Congress and either House of Congress, and the orderly conduct
in that building of a hearing before or any deliberation of, a committee of Congress or either House
of Congress.

(Disorderly Conduct in a Capitol Building, in violation of Title 40, United States Code,
Section 5104(e)(2)(D))

COUNT TEN
On or about January 6, 2021, within the District of Columbia, EDWARD KELLEY
willfully and knowingly engaged in an act of physical violence within the United States Capitol
‘Grounds and any of the ‘Capitol Buildings.
(Act of Physical Violence in the Capitol Grounds or Buildings, in violation of Title 40,
United States Code, Section 5104(e)(2)(F))
COUNT ELEVEN
On or about January 6, 2021, within the District of Columbia, EDWARD KELLEY
willfully and knowingly paraded, demonstrated, and picketed in any United States Capitol
Building.

(Parading, Demonstrating, or Picketing in a Capitol Building, in violation of Title 40,
United States Code, Section 5104(e)(2)(G))

A TRUE BILL:

FOREPERSON.

Pietro a

Attorney of the United States in
and for the District of Columbia.
